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                                   STATEMENT OF FACTS



                                                                        In my duties as a TFO, I

investigate federal violations related to national security, to include matters of international and

domestic terrorism. Currently, I am tasked with investigating criminal activity in and around the

U.S. Capitol grounds on January 6, 2021. As a TFO, I am authorized by law or by a Government

agency to engage in the prevention, detection, investigation, or prosecution of a violation of

Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the

U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol

Police. Only authorized people with appropriate identification were allowed access inside the U.S.

Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of

the public.

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate were

meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint

session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice President

Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.




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       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00

p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows

and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and

assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.




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                             FACTS SPECIFIC TO MAHONEY

       After the events of January 6, photographs and videos of people present in the U.S. Capitol

building were disseminated via social media and other open-source online platforms. One of those

people was a male with close cropped hair wearing a black and grey winter jacket, a camouflage

backpack, and a dark shirt that said “TRUMP PENCE.”




                                            Image 1

       The photograph above (Image 1) depicts that individual, whom I assess to be SHAWN

MAHONEY, known to reside in New Hampshire, while he is inside the Capitol building on

January 6, 2021.

       I have reviewed numerous photographs and screenshots from videos taken by third parties

that show MAHONEY in and around the Capitol that day. MAHONEY can be seen in the images

below (Images 2 and 3):




                                                3
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visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       Your affiant submits there is also probable cause to believe that SHAWN MAHONEY

violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of November, 2023.
                                                                       2023.11.07
                                                                       16:40:29 -05'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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